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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ District of
                                                                     of __________
                                                                        Texas

                       ROBERT C. VILT                             )
                                                                  )
                                                                  )
                                                                  )
                             Plaintiff(s)                         )
                                                                  )
                                 v.                                       Civil Action No. 4:23-CV-1685
                                                                  )
          FORIS DAX, INC. DBA CRYPTO.COM                          )
                                                                  )
                                                                  )
                                                                  )
                            Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Foris DAX, Inc. dba Crypto.com
                                        c/o Corporation Service Company
                                        211 E. 7th Street, Suite 620
                                        Austin, TX 78701




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Vilt Law, P.C.
                                        c/o Robert C. Vilt
                                        5177 Richmond Ave, Ste 1142
                                        Houston, TX 77056




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.


                                                                                Nathan
                                                                             CLERK     Ochsner, Clerk of Court
                                                                                   OF COURT


 Date:May 9, 2023
Date:
                                                                                 s/ Rhonda  Moore-Konieczny
                                                                                      Signature of Clerk or Deputy Clerk
                                                                                 Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:23-CV-1685

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                          ; or

           ’ Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
